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                             SOLUTIONS
                         An Alternative Dispute Resolution Procedure




 Version 8-21-15




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                                               SOLUTIONS
 I.    PURPOSE

       Solutions provides The General Electric Company (“GE” or “the Company”) and Covered
       Employees a fair, quick and efficient process to resolve certain claims arising out of or related
       to their employment relationship with the Company.

       This Procedure is not a guarantee of employment for any fixed period of time and does not
       alter any employee’s at-will status. This Procedure, however, creates a binding obligation on
       Covered Employees and the Company for the resolution of employment disputes.

 II.   GENERAL

       A. Summary of the Solutions Procedure

          Employees are encouraged to resolve issues informally, either through discussions with
          their immediate manager, others in the management chain, a human resources (HR)
          representative, or other Company Compliance representative. Occasionally, however,
          informal efforts do not resolve an employee’s concern, and in such cases an employee may
          submit his or her concern to Solutions.

          Solutions is a structured dispute resolution procedure that consists of two internal levels of
          review followed by, if necessary and applicable, outside mediation (Level III) and arbitration
          (Level IV). Levels III and IV apply only to Covered Claims, as defined herein. The levels of
          Solutions are in a logical sequence, and employees must complete each level of the
          process before proceeding to the next level.

          At Levels I and II, an employee and the management team meet in an attempt to address
          the employee’s concern. If the employee is not satisfied with the outcome of Levels I and
          II, and the concern is a Covered Claim, the employee may submit the claim to Level III.
          Similarly, if the Company has a Covered Claim against an employee, it would be submitted
          initially at Level III (the employee can then request a Level II meeting, if desired). At Level
          III, an external mediator helps the employee and the Company open lines of
          communication in an attempt to facilitate resolution.

          If there is no resolution at Level III and the party wishes to pursue the concern, the next step
          is Level IV arbitration. At Level IV, an external arbitrator provides the employee and the
          Company with a binding decision on the merits of the Covered Claim(s). Both




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        mediation and arbitration under Levels III and IV will be administered by a nationally
        recognized dispute resolution organization (“DRO”). Employees may obtain information
        regarding which DRO has been designated to handle proceedings at Level III and IV and
        the DRO's rules governing such proceedings from the Solutions Administrator or the local
        HR manager.

     B. Company

        The Company includes GE and its past, present and future subsidiaries, affiliates, joint
        ventures, and parents, and, as to each of these, their officers, directors, agents,
        supervisors/managers acting within the scope of their employment, and any of its or their
        successors or assigns. For the avoidance of doubt, the Company includes any entity or
        persons included above, regardless of whether the entity remains a subsidiary, affiliate,
        joint venture or parent at the time the claim is brought.

     C. Solutions’ Relationship to Other Appeal Procedures

        Where the Company has implemented a peer review program and an employee has
        submitted a concern to it, the peer review program will replace Levels I and II of
        Solutions. After the conclusion of the peer review procedure, a Covered Employee (as
        defined below) may pursue a Covered Claim through Solutions, starting at Level III.

     D. Entire Agreement

        This Procedure constitutes the sole agreement between the Company and its employees
        concerning the requirements of Solutions and may not be modified by written or oral
        statements of any Company representative, except as noted in Appendix A. If there are
        conflicts between the requirements of this Procedure and other Company policies,
        procedures, publications or statements by Company representatives regarding matters
        addressed by this Procedure, the requirements of this Procedure control.

        All concerns/claims shall be processed under the terms of the Procedure in effect at the
        time the concern/claim is first submitted.

        Employees not bound by Solutions but who are otherwise covered by a pre-existing
        alternative dispute resolution procedure with the Company that provides for final and
        binding resolution of Covered Claims remain bound by the pre-existing procedure.

     E. Covered Employees; Applicability of Solutions

        Covered Employees are U.S.-based (or U.S. citizens working outside the United States)
        current, or former employees who left the Company after the effective date of Solutions,
        not represented by a labor union, who are or were employed by the Company (as defined
        in Section II.B), as further detailed in Appendix A.

        Covered Employees continue to be obligated to use Solutions (including Level IV)
        following termination of their employment with respect to any and all Covered Claims
        they may have. The Company also must use Levels III and IV of Solutions to address
        Covered Claims the Company may have against a Covered Employee, consistent with the
        definitions of “Covered Claims” and “Excluded Claims” set forth below.
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        Special Note: Registered Employees
        For regulatory reasons, registered employees have different options available to them for
        resolving claims past the mediation stage. Registered employees are bound by the rules
        of the Financial Industry Regulatory Authority (FINRA), as described in the U-4 agreement,
        which states that certain claims must be brought to mandatory arbitration before FINRA.
        Covered Claims that are not compelled to mandatory FINRA arbitration must be
        addressed through Solutions.

     F. Non-Covered Employees

        Employees not otherwise bound by a Company alternative dispute resolution procedure
        (e.g., certain former employees) may request the Company’s agreement to resolve
        Covered Claims through Solutions beginning at Level III.

     G. Filing Charges with Government Agencies

        Nothing in this Procedure is intended to discourage or interfere with the parties
        becoming familiar with and/or taking advantage of their rights to file administrative
        claims or charges with government agencies or authorities, such as the Equal
        Employment Opportunity Commission (www.eeoc.gov), the U.S. Department of Labor
        (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), the Office of Federal
        Contract Compliance Programs (www.dol.gov/ofccp), and law enforcement authorities.
        Either party may request that an administrative agency or authority with which the other
        party has filed a claim or charge defer processing that claim or charge pending
        exhaustion of the Solutions process.

     H. Solutions Administrator

        The Solutions Administrator will:

        •   Coordinate the receipt and processing of employees’ claims with managers and with HR
            representatives;
        •   Answer questions about Solutions;
        •   Monitor the Company’s and employee’s compliance with all time requirements;
        •   Confirm scheduling of Level I and Level II meetings, as well as schedule mediation
            meetings and arbitration hearings at Levels III and IV;
        •   Process requests for production of information;
        •   Schedule the Company’s participation in pre-arbitration communications with
            arbitrators and with employees regarding specific discovery issues;
        •   Work with Company representatives, employees, their attorneys, and the DRO to
            select and schedule mediators and arbitrators;
        •   Function as the Company’s administrative liaison with the DRO; and
        •   Process requests for extensions of Solutions deadlines.

     I. Covered Claims

        While employees may submit to the appropriate Solutions Administrator any
        employment-related concern at Levels I and II, only Covered Claims will be accepted and
        processed at Levels III and IV. Covered Claims include all claims that arise or arose out
        of or are or were related to an employee’s employment or cessation of employment
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        (whether asserted by or against the Company), where a court or agency in the jurisdiction
        in question would otherwise have the authority to hear and resolve the claim under any
        federal, state or local (e.g., municipal or county) statute, regulation or common law.
        Covered Claims do not include Excluded Claims (as defined in Section II.J.).

        Covered Claims must involve legally protected rights and include the following:

        •   Claims relating to compensation, promotion, demotion or other employment actions;

        •   Claims relating to leaves of absence provided by law;

        •   Claims relating to involuntary terminations, such as layoffs and discharges (including
            constructive discharges), notice of mass layoffs and/or plant closings;

        •   Employment discrimination and harassment claims, based on, for example, age, race,
            sex (including pregnancy), sexual orientation, gender identity or expression, religion,
            national origin, veteran status, citizenship, handicap/disability, or other characteristic
            protected by law;

        •   Retaliation claims for legally protected activity and/or for whistleblowing;

        •   Claims of breach of contract including but not limited to breach of a personal services
            contract or other written employment contract, confidentiality agreement or restrictive
            covenant (express or implied) and/or promissory estoppel;

        •   Tort claims (such as intentional torts, negligence, defamation, invasion of privacy,
            infliction of emotional distress, etc.);

        •   Claims of violation of public policy;

        •   Claims of violation of this Procedure; and/or

        •   Claims that the employee and the Company expressly agree in writing should be
            treated as Covered Claims.

     J. Excluded Claims

        Excluded Claims, which are excluded from Levels III and IV of Solutions, are claims that
        allege the following concerns:

        •   Claims that do not allege legally protected or enforceable rights in the jurisdiction in
            question;

        •   Claims for benefits under a Company benefit plan covered by the Employment
            Retirement Income Security Act of 1974 (ERISA), or any other claims covered by ERISA;
            including claims of service miscalculation to the extent such calculations determine
            eligibility for, or level of benefits under, a plan governed by ERISA;

        •   Claims for workers’ compensation or unemployment compensation benefits;

        •   Claims under the National Labor Relations Act;
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        •   Intellectual property claims (for example, and without limitation, those relating to
            patents, trademarks and copyrights) that may be conclusively determined through the
            use of proceedings in any governmental patent, trademark or copyright or other
            intellectual property agency or office in any country.

        •   Claims based on alleged violations of the GE Policy on Working with Governments
            including, but not limited to, alleged violations of the federal False Claims Act (except
            retaliation claims) or federal procurement laws or regulations (these should be reported
            to the Ombudsperson or a Company Compliance representative); and

        •   Claims brought by or against Covered Employees, where a third party would be
            necessary to the resolution of any claims or where the absence of the third party could
            subject the Company or the Covered Employee to inconsistent obligations, and all
            parties do not agree to participate in Level III and to be bound by an arbitration under
            Level IV of Solutions.

        Claims which are excluded from Level IV of Solutions (but must be processed under
        Levels I, II and III (unless waived by the parties) include:

        •   Claims that are not arbitrable as a matter of law;

        •   Claims that may not be subject to a pre-dispute arbitration agreement, including the
            certain claims under the Sarbanes-Oxley Act of 2002, Dodd-Frank Wall Street Reform
            and Consumer Protection Act (Public Law 111-203), or disputes covered by any
            government-contracts statute or Executive Order (such as the Franken Amendment,
            first enacted in Section 8116 of the Defense Appropriations Act of 2010 or any
            successor statute, or Executive Order 13673, if the employee works for a business unit
            with a covered contract that requires such exclusion).

        •   The parties may agree, after a claim arises, that claims otherwise excluded from Level
            IV be subject to binding arbitration under this Procedure.

        The exclusion of Company benefit plans above precludes a claim alleging a violation of
        such plans but does not prevent an arbitrator from including in an award, in connection
        with a Covered Claim, the monetary value of lost Company benefits caused by a
        wrongful termination of employment or other violation of law.

     K. Exclusivity of Arbitration for Covered Claims; Injunctive Relief; Individual Nature of
        Covered Claims

        Covered Employees and the Company are not allowed to litigate a Covered Claim in
        any court. However, a provisional remedy (e.g., a temporary restraining order or a
        preliminary injunction) to preserve or reinstate the status quo pending the resolution of
        the Covered Claim pursuant to Solutions may be sought at any time in a court of
        competent jurisdiction.

        Covered Employees and the Company waive their right to bring any Covered Claims as,
        or against, a representative or member of a class or collective action (whether opt-in or
        opt-out) or in a private attorney general capacity, unless all parties agree to do so in
        writing. All Covered Claims must be brought on an individual basis only in Solutions.
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        Without waiving the Company’s right to enforce this Procedure’s provisions regarding
        class and collective action waivers, nothing in this Procedure prohibits employees from
        acting concertedly to challenge the terms of Solutions and they will not be subject to
        discipline or retaliation by the Company for doing so.

        A court shall have the sole authority to determine the enforceability of the waiver in the
        prior paragraph. If a court determines, in a final non-appealable ruling, that the waiver
        in the prior paragraph is unenforceable, any claims brought as a putative collective,
        class or representative (e.g., private attorney general actions) action will be considered
        Excluded Claims that must be pursued (if at all) in court. If at any point a court finds
        that claims addressed in this section are not appropriate for treatment as a class,
        collective or representative action, the claims must proceed (if at all) through Solutions
        as individual claims.

     L. Exhaustion of Resolution Levels

        Covered Employees and the Company must satisfy the requirements at each level of
        Solutions before proceeding to the next level, except when the parties have mutually
        agreed to skip a Solutions Level(s) as discussed below. Any Covered Claim that the
        Company may wish to assert against an employee, whether as an original claim or
        counterclaim, must be initiated at Level III, and the employee can then request that a
        Level II meeting be held before the Level III mediation.

        While the Company encourages employees to attempt to resolve issues at Level I, the
        Company recognizes that there may be appropriate situations where employees would
        prefer to initiate their concerns at Level II. When an employee submits a concern
        initially to Solutions, the employee may request on the Submission Form to skip Level I.
        The Solutions Administrator will advise the employee before the first scheduled meeting
        whether the Company agrees to discuss the concern initially at Level II. In all
        appropriate cases, however, employees will be encouraged by the Solutions
        Administrator to engage in initial discussions with his or her direct manager prior to
        engaging in Level I or Level II proceedings. Where circumstances warrant, the parties
        also may agree to skip Solutions Level II.

        The failure to submit Covered Claims at all levels of Solutions within the deadlines
        established by this Procedure constitutes a failure to complete the Solutions process,
        unless the parties agree to an extension of deadlines or the arbitrator (where Level IV
        applies) rules that such failure was the result of excusable delay.

     M. Statutes of Limitations and Administrative Agency Filing Deadlines

        A statute of limitations is the time period within which a person must file a claim. The
        length of the applicable statute of limitations is determined by the legal nature of the
        claim. Different statutes of limitations apply to different claims. Courts do not have
        authority to decide claims or grant relief with respect to claims filed after the expiration
        of applicable statutes of limitations. The time period for filing a claim in court normally
        begins with the occurrence of the event or conduct that is the basis of a person’s claim,
        but may begin at a later time, depending on the circumstances. The time period for
        filing the claim in court ends upon the expiration of the time period established by the
        applicable statute of limitations.
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            Administrative agency filing deadlines can affect an employee’s legal rights in different
            ways. Some statutes require individuals to file administrative claims with government
            agencies (e.g., the Equal Employment Opportunity Commission - EEOC) as a prerequisite
            for filing such claims in court. In this context, administrative agency filing deadlines
            are the time periods within which individuals must file administrative claims with, for
            example, a federal agency. Such deadlines also may apply to the time period for filing
            a claim in court after a government agency has discontinued its investigation of the
            claim.

            In order to submit Covered Claims to Level III and Level IV of Solutions, employees must
            have submitted such claims to Level I (and the Company must have submitted to Level
            III) before the expiration of the applicable statutes of limitations and/or administrative
            agency filing deadlines for such Covered Claims. Where either party files a Covered
            Claim with an administrative agency or in a court that has (or, absent Solutions, would
            have) jurisdiction over the Covered Claim before the expiration of the applicable
            limitations period, the other party agrees to stop the further running of the limitations
            period as to that Covered Claim while it is pending before the agency or court until
            ninety days from the time a decision is made by the court regarding the appropriate
            forum for resolution, or the agency process has been concluded.

            Where a party’s initial submission of a Covered Claim to Solutions occurs before the
            expiration of the applicable statute of limitations for filing in court, the opposing party
            agrees to stop the further running of the statute of limitations while the parties
            complete the Solutions process. In the case of administrative agency filing deadlines,
            the Company agrees to request that the agency treat the running of filing deadlines as
            having been stopped. Nothing in this paragraph is intended to interfere with the right
            of administrative agencies to investigate and otherwise process claims or relieve a
            party with Covered Claims that, under Solutions, must be arbitrated at Level IV, from
            adhering to the deadlines established by Solutions in accordance with Section II.N.
            below.

            Each party shall be solely responsible for determining the correct statutes of limitations
            and/or administrative agency deadlines applicable to their Covered Claims. Either
            party’s failure to reject a Covered Claim that has been submitted to Level III of Solutions
            after the expiration of the applicable statutes of limitations or administrative agency
            deadlines shall not waive the party’s right to assert as a defense at a later time the
            untimeliness of the Covered Claim.

     N. Deadlines1 Established by this Procedure

            This Procedure establishes deadlines for certain actions. Examples include, but are not
            limited to, deadlines for submitting claims to different levels of Solutions and the
            Company’s issuance of written responses. Deadlines are established by this
            procedure rather than by law and are different from statutes of limitation.

            The parties agree they will make a good faith effort to comply with the deadlines in this

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         Any deadline under this Procedure that falls on a weekend or holiday will be extended to the next business day.
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      Procedure. The Company’s failure to respond at any level of Solutions to the
      submission of an employee claim by the expiration of the applicable deadline will be
      considered a denial of the claim and enable the employee either to submit his/her
      claim at the next level or demand a response from the Company before proceeding to
      the next level.

       A Covered Employee who fails to adhere to the stated deadlines in Levels I through III
       and who wishes to proceed with his or her Covered Claim at Level IV must provide the
       Solutions Administrator with the reasons for such failure. In the event the Solutions
       Administrator does not excuse the Covered Employee’s failure to adhere to the
       deadlines, the parties agree to submit to an arbitrator selected in accordance with the
       Level IV procedures the limited issue of whether the employee had good and sufficient
       cause for his or her failure. If the arbitrator so finds, he or she will preside over the
       arbitration of the Covered Employee’s claim(s) in accordance with the Level IV
       procedure. If not, the claim will be deemed abandoned and the Covered Employee will
       have no further right to proceed on such claim in any forum. These rules apply equally
       to a Company failure to adhere to stated deadlines in Level III with respect to any claim
       it may bring against a Covered Employee.

       The effect of the failure by either party to adhere to the deadlines at Level IV, including
       whether such failure will be excused or may result in sanctions or other penalties, shall
       be determined by the arbitrator in accordance with the DRO’s rules.

   O. Severability

       In the event that any provision of this Procedure is determined to be legally invalid or
       unenforceable, and cannot be modified to be enforceable, the affected provision shall
       be stricken from the Agreement. The remaining terms of the Agreement and its
       enforceability shall remain unaffected, except as noted in Section II.K in the event that
       a court determines the waiver of the right to bring a class, collective or representative
       action is unenforceable

   P. Rules of Administration for Mediation and Arbitration

       For each location covered by Solutions, the Company has designated a DRO which
       shall handle any and all proceedings at Level III and Level IV for employees based in
       such location. Employees may obtain information regarding the DRO designated to
       handle their Covered Claims, including the name and location of the DRO and the DRO's
       current rules of procedure, from the Solutions Administrator, or the local HR manager.
       Except as provided otherwise by this Procedure, the mediation and arbitration of
       Covered Claims will be administered by the designated DRO under its current rules for
       mediation and for arbitration, as may be amended, without notice by the DRO.

   Q. Agreement to Arbitrate in Interstate Commerce

       For all Covered Employees, this Procedure is an agreement to arbitrate pursuant to the
       Federal Arbitration Act (FAA), 9 U.S.C. Sections 1-14, or if that Act is held to be
       inapplicable for any reason, the arbitration law in the state in which the arbitration
       hearing is held. The parties acknowledge that the Company is engaged in
       transactions involving interstate commerce and that the employees eligible to
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        participate in Solutions are not employed by the Company as seamen, railroad
        employees, or other class of worker engaged in foreign or interstate commerce as
        provided in the FAA.

       R. Retaliation is Prohibited

             Company employees at all levels are strictly prohibited from retaliating against anyone
             for submitting a concern or claim to, or otherwise participating in, Solutions. Any
             concern that retaliation has occurred must be reported promptly to the employee’s
             supervisor, local HR representative, the Company Ombudsperson or other Company
             Compliance representative, and may be submitted as a concern to Solutions. Any
             employee who engages in retaliatory conduct will be subject to discipline, up to and
             including discharge.

       S. Consolidation of Additional Covered Claims

             The parties are solely responsible for including in the Solutions Submission Forms all
             Covered Claims arising from substantially the same set of facts and circumstances.
             Consequently, if a party wants to raise, or raises in any manner at any time during the
             Solutions process, new Covered Claims or new facts which give rise to new Covered
             Claims, the party shall include such claims and/or facts in a new Submission Form at
             the appropriate level. The responding party at its sole discretion may consolidate new
             Covered Claims at the level of the other party’s pending claims, or may elect to address
             the new Covered Claims at the applicable level for a new Covered Claim.

       T. Finality of Solutions

             Any resolution of a concern or claim reached through Solutions is final. This means
             that neither an employee nor the Company can bring forward a concern or claim in
             Solutions or in court that is based on substantially the same set of facts and
             circumstances as one that has been processed in accordance with the terms of
             Solutions.

       U. Governing Law

             This Agreement shall be construed, interpreted and applied in accordance with the law
             of the State of New York, without regard to choice of law principles.

III.   PROCEDURE AND RESPONSIBILITY

       Preliminary note: In all appropriate instances, employees are encouraged to first discuss
       their concern with their direct manager and/or HR representative before submitting it to
       Solutions.

        A. Level I – Direct Manager Meeting

             1. Submission of Claims. Using the Solutions Level I Submission Form, 2 the employee
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            See Appendix B for sample Solutions claim forms.

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         shall submit his/her claims to the Solutions Administrator, who will provide copies to
         the employee’s manager and/or to his/her HR representative. The employee
         should keep a copy of the completed Level I Submission Form.

       2. Statutes of Limitations for Submission of Claims. There are no time limits for
          employees’ submission of claims at Level I. However, the Company shall not accept
          Covered Claims at Level III, unless the employee has submitted his/her Covered Claims
          at Level I (or at Level II if Level I is skipped) before the expiration of the statutes of
          limitations applicable to such claims.

       3. Scheduling of Level I Meeting within 30 Days. The Solutions Administrator will
          confirm that the manager and the employee have scheduled a Level I meeting on a
          date not later than 30 calendar days after the Company’s receipt of the employee’s
          written submission.

       4. Attendees at Level I Meeting. The employee meets with his/her manager (or
          designee). Either the employee or manager may require the attendance of the
          employee’s HR representative (or designee) at the Level I meeting. If the employee’s
          manager was not directly involved with the events which form the basis of the
          employee’s concerns, the appropriate Company representatives who were involved in
          the events also may participate in the meeting. No one else may attend the meeting.
          While this Procedure is not intended to prevent either party from seeking legal advice
          regarding the employee’s concerns, neither party may have an attorney present at
          the Level I meeting.

       5. Requests for Documents. By request to the Solutions Administrator, an employee may
          gain access to documents from his/her personnel and medical files in the Company’s
          possession that are relevant to the employee’s concern. Upon request and to the
          extent possible, the Solutions Administrator will make such documents available to the
          employee in advance of the Level I meeting.

       6. Meeting Length and Format. Level I will consist of a single meeting not to exceed two
          hours, unless the employee and manager agree to extend the meeting or to hold
          additional meetings. At the meeting, the employee shall state the basis for his/her
          claim and the nature of the resolution he/she is seeking. In addition to the discussion,
          the employee may present written information or documents to assist in his or her
          explanation of the claim.

       7. Recording of the Proceedings. Neither a formal record or transcript may be made,
          nor electronic recording device used, at the Level I meeting. However, the parties
          may make notes during the meeting.

       8. Confidentiality and Inadmissibility of Discussions. Statements made in the
          meeting are understood to be solely for the purpose of reaching a resolution of the
          employee’s claim and shall be kept confidential by the employee except as
          provided below, and conveyed on a need-to-know basis by the Company.
          However, either party may gather information in support of the effort to resolve
          the claim as long as it is not done in violation of Company policy or law.

           Neither party, unless compelled by law, shall attempt to use statements made by
           the other party at the meeting in any arbitral, judicial or other proceeding to
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         impeach the testimony of the other party’s witnesses, or as evidence of: (a) views
         expressed or suggestions made by another party with respect to a possible
         settlement of the dispute; (b) admissions made by a party in the course of meeting;
         (c) proposals made or views expressed by a party; or (d) the fact that a party had or
         had not indicated willingness to accept a proposal for settlement. The employee
         may disclose the contents of the meeting to his/her spouse and attorney, however,
         provided they first agree not to disclose such information to others.

          Notwithstanding this provision or any other confidentiality requirement of this
          Procedure, nothing in this Procedure shall prevent employees from communicating
          or cooperating with any government agency investigation into matters that
          occurred during the Solutions proceedings or during their employment with the
          Company, or communicating to colleagues or others about the substance of their
          claim or concern.

       9. Company Response within 30 Days. The Company will provide the employee with
          the Company’s written response within 30 calendar days of the conclusion of the
          Level I meeting.

   B. Level II – One-Over-One Manager Meeting

       1. Submission of Claims. If the employee is not satisfied with the resolution at Level I,
          he/she may proceed to Level II by submitting the Solutions Level II Submission
          Form within 30 calendar days of his/her receipt of the Company’s written response
          to the employee at Level I. The employee must provide on the form any additional
          information regarding his/her claims not provided at Level I that may be helpful in
          reaching a resolution. The Solutions Administrator shall immediately forward
          copies of the employee’s concerns at Level II to the appropriate higher-level
          manager (or designee) and/or HR representative.

       2. Statutes of Limitations for Submission of Claims. Same as Level I.

       3. Scheduling of Level II Meeting within 30 Days. The Solutions Administrator will
          confirm that the higher-level manager (or designee) and the employee have
          scheduled a Level II meeting on a date not later than 30 calendar days after the
          Company’s receipt of the employee’s written submission.

       4. Attendees at Level II Meeting. The Level II meeting shall include the employee, a
          higher-level manager (or designee) than the manager who attended the Level I
          meeting, and the appropriate HR representative (or designee). In addition, either
          the employee or higher-level manager (or designee) may require the attendance of
          any Company representative who attended the Level I meeting. The Company
          may also involve, as necessary, other Company representatives at the Level II
          meeting. No one else may attend the meeting other than those identified in this
          paragraph. While this Procedure is not intended to prevent either party from
          seeking legal advice concerning the employee’s concerns, neither party may have
          an attorney present at the Level II meeting.

       5. Requests for Documents. Same as Level I.

       6. Meeting Length and Format. Same as Level I.
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      7. Recording of the Proceedings. Same as Level I.

      8. Confidentiality and Inadmissibility of Discussions. Same as Level I.

      9. Company Response within 30 Days. Same as Level I.

      10. Level II meeting requested by employee on Company initiated Covered Claim. An
          employee may, within 15 calendar days of receipt of the Employer’s Level III
          submission of a Covered Claim against the employee, request that a Level II
          meeting be held. Upon receipt of the employee’s request, the Solutions
          Administrator will schedule a meeting, to be held within 30 calendar days,
          between the Covered Employee and a Company-designated representative.
          Sections III.B.5-8 shall apply to such meeting and the employee may submit a
          written response to the Solutions Administrator within 30 calendar days of the
          meeting.

   C. Level III – Mediation

      If the employee is not satisfied with the Level II resolution of his/her concern, he or she
      may proceed to Level III mediation as provided below. However, only Covered Claims
      shall be processed at Level III. Any Covered Claim that the Company may wish to
      assert against an employee, whether an initial claim or a counterclaim, must be
      asserted at Level III, unless the employee requests that a Level II meeting first be held.
      The term Claimant as used in Sections III.C. and III.D. below shall mean either the
      employee or the Company, whichever party is bringing the claim at Level III or IV.

      1. Description. Mediation involves an attempt by the parties to find common ground
         on which to voluntarily resolve their dispute with the aid of a neutral third party not
         employed by the Company. The mediator’s role is advisory. The mediator may
         offer suggestions, but resolution of the dispute rests with the parties themselves.
         As a result, the mediator or either party may end the mediation whenever, in
         his/her judgment, further efforts at mediation would not contribute to a resolution
         of the dispute.

      2. Submission of Claims to Level III – Covered Claim Determination and Time Limits.
         The employee shall use the Solutions Level III Submission Form to submit his/her
         Covered Claims to the Solutions Administrator at Level III within 30 calendar days
         of the date of the Company’s written response at Level II. The Company shall use
         the same form to submit its Covered Claims to the employee and the Solutions
         Administrator. Claimants are required to identify on the Level III Submission Form
         all legal claims that arise out of the same facts and to include all facts that support
         the Claimant’s legal claims, including, in the case of an employee’s claim, facts
         which conflict with the Company’s stated reasons for denying the employee’s
         claims at Level II. In addition, the Claimant must include the dates of each alleged
         legal violation, the names of individuals who have knowledge about each alleged
         legal violation and the nature of their involvement, and any documents or other
         evidence that support the claims.

          The Solutions Administrator, within 30 calendar days of receipt of the Level III
          submission, will determine whether the claim is a Covered Claim. If it is not a
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         Covered Claim, the Solutions Administrator will notify the Claimant that the claim
         has been rejected, which will end the Solutions process. If it is a Covered Claim,
         the Solutions Administrator will work with the parties to file a joint request for
         mediation with the DRO previously designated by the Company. The request for
         mediation shall contain a brief description of the nature of the Covered Claims and
         the names, addresses, and telephone numbers of all parties to the dispute and
         their representatives, if any. The fact that a claim is allowed to proceed at Level III
         (and, if applicable, later at Level IV) is not a waiver of any defense to such claim,
         including without limitation that such claim is untimely or fails to state a claim
         upon which relief may be granted.

       3. Selection of a Mediator. The employee and the Company may select a mediator
          by agreement. Absent such agreement, the DRO will provide an initial list of seven
          mediators for both parties to consider. Each party may strike up to three
          mediators and rank those that remain, from which the DRO will appoint a
          mediator. If acceptable mediators are unable to serve, of if for any other reason
          appointment cannot be made from the initial list, the DRO and parties will repeat
          the process until a mediator can be appointed.

       4. Qualifications of Mediators. In addition to not having any financial or personal
          interest in the result of the mediation, mediators shall be licensed attorneys or
          former judges with a minimum of five years’ relevant experience in the area of law
          at issue. For claims relating to intellectual property (for example, and without
          limitation, those relating to patents, trademarks, copyrights and trade secrets),
          mediators shall have a minimum of ten years’ experience as an attorney practicing
          in the relevant area of intellectual property law.

       5. Date, Time, and Place of Mediation. If the parties fail to agree on a date, time and
          place for mediation, the mediator shall schedule the mediation on a normal
          business day during normal business hours, no later than 90 calendar days after
          the date of the pre-mediation meeting/call. Unless the parties agree otherwise, or
          the mediator directs otherwise, the parties shall use the DRO office nearest to the
          employee’s work location to mediate the dispute. If the DRO’s office is
          unavailable, the mediator shall select a convenient, neutral site.

       6. Length of Mediation. Either of the parties or the mediator may end the mediation
          at any point. However, the length of the mediation shall not exceed one 8-hour
          day, unless both parties and the mediator agree to an extension.

       7. Requests for Documents. Same as Level I, unless the parties agree otherwise.

       8. Identification of Matters in Dispute. Unless otherwise ordered by the mediator,
          each party shall provide to the mediator a brief written summary of the dispute
          setting forth the party’s position concerning all claims and defenses at least 14
          calendar days prior to the scheduled mediation. This summary shall be for the
          mediator only, shall not be shared with the other party and shall not be admissible
          as evidence in any other proceeding.

       9. Attendees at Mediation. Either party may be assisted or represented by counsel.
          The mediation shall be a private meeting of the parties and the mediator. Without
          the written agreement of both parties, no one may attend the mediation except
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         the mediator, the employee, Company representatives and each party’s attorneys.

      10. No Stenographic Record or Electronic Recording. No formal record or transcript
          may be made, nor electronic recording device used, at the mediation. However,
          the parties may make notes during the mediation.

      11. Confidentiality and Inadmissibility of Mediation Discussions. The mediator shall not
          disclose to anyone outside the mediation any information provided by the parties
          in the course of the mediation. The mediator shall not be compelled to disclose
          any information related to the mediation or to testify in regard to the mediation in
          any other proceeding or judicial or arbitral forum.

          The parties shall maintain the confidentiality of the mediation. On or before the
          date of the mediation, the mediator and the parties shall sign a mediation
          confidentiality agreement. Statements by the parties at the mediation are
          understood to be solely for the purpose of reaching a resolution of the claims and
          shall be kept confidential by the employee except as provided below, and conveyed
          by the Company on a need-to-know basis. Either party may gather information in
          support of the effort to resolve the concern, as long as it is not done in violation of
          Company policy or law.

          Neither party shall, unless compelled by law, attempt to use statements of the other
          party or the other party’s representatives in any arbitral, judicial or other proceeding to
          impeach the testimony of the other party’s witnesses, or as evidence of: (a) views
          expressed or suggestions made by another party with respect to a possible settlement
          of the dispute; (b) admissions made by another party in the course of the mediation
          proceedings; (c) proposals made or views expressed by the mediator; or (d) the fact that
          the other party had or had not indicated willingness to accept a proposal for
          settlement made by the mediator. The employee may disclose the contents of the
          mediation to his/her spouse and attorney; provided, however, they first agree not to
          disclose such information to others.

          Notwithstanding this provision or any other confidentiality requirement of this
          Procedure, nothing in this Procedure shall prevent employees from communicating
          with or cooperating with any government agency investigation into matters that
          occurred during the Solutions proceedings or during their employment with the
          Company, or communicating to colleagues or others about the substance of their
          claim or concern.

      12. Costs and Fees. The Company will pay (1) the DRO filing and other administrative
          fees; (2) the mediator’s fee and his/her reasonable travel and living expenses; and
          (3) the cost of renting mediation rooms. The Company also will pay for the time
          spent at the mediation by a Claimant still employed by the Company as follows:
          ( 1) non-exempt employees will be paid at their regular base rate for time in
          mediation that occurs during their regularly scheduled hours; and (2) exempt
          employees will continue to receive their regular salary.

          The Company shall pay the fees and expenses of the mediator by making such
          payments directly to the DRO. The DRO shall then pay the mediator without disclosing
          the source of such payments. To avoid disclosing to the mediator the source of the
          payment of his/her fees and expenses and other costs of mediation, all references to
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         the “costs and fees” of Solutions shall be redacted from copies of this Procedure which
         are provided to the mediator.

           The parties shall each pay their own attorneys’ fees and costs. However, in the event
           that the parties agree to a settlement at Level III and execute a settlement agreement
           and release, the Company will reimburse the employee up to $2,500, for his/her
           reasonable attorneys’ fees directly related to the mediation. The employee will be
           expected to provide valid proof of such fees. The Company will not reimburse
           employees for attorneys’ fees for Levels I or II.

       13. Conclusion. If the mediation has been successful, Level III proceedings will
           conclude with the execution of a settlement agreement and release, or other
           arrangement as agreed to by the parties and/or the mediator. If the mediation is
           unsuccessful, as determined by the mediator and/or a party, Level III will conclude
           at the time of this determination.

   D. Level IV – Arbitration

       1. Description. Arbitration is a dispute resolution process in which the employee and
          the Company present their respective positions concerning the Covered Claims to
          an impartial third-party arbitrator who determines the merits of the claims. An
          arbitration hearing resembles a court proceeding in certain ways. Both parties
          have the opportunity to be represented by an attorney, to make opening
          statements, to present the testimony of witnesses and to introduce exhibits
          through witnesses, to cross-examine the other party’s witnesses and to make
          closing statements. Arbitration differs from mediation in that the arbitrator
          renders a final and binding decision on the merits of the Covered Claim and can
          impose remedies. The Procedures below contain certain guidelines on discovery
          and witnesses in an effort to further the interests of simplicity and expedition of
          arbitration. These guidelines will apply unless the arbitrator determines that they
          will prevent the party from obtaining information and/or presenting evidence that
          will assist the party in proving a claim or defense, in which case the arbitrator shall
          have authority to make reasonable alterations to such guidelines.

       2. Submission of Claims to Level IV and Time Limits. The Claimant shall use the
          Solutions Level IV Submission Form to submit Covered Claims to the Solutions
          Administrator within 30 calendar days of the date a party and/or the mediator
          determines that the mediation at Level III has not been successful. The Level IV
          Submission Form requires the provision of any available additional information
          regarding the Covered Claim.

       3. Initiation of Arbitration. The Solutions Administrator and the employee and/or the
          employee's attorney shall file a joint request for arbitration with the DRO previously
          designated by the Company within 30 calendar days of the Solutions
          Administrator's receipt of the Claimant's submission at Level IV. The arbitration
          request shall comply with the DRO's arbitration rules and, at a minimum, shall
          contain the Claimant's statement of the nature of the Covered Claims, the amount
          of damages, if any, alleged and the nature of any other remedy sought. The
          Solutions Administrator will forward the joint request to the DRO. Failure to
          cooperate in the submission of the joint request may result in the forfeiture of a
          claim, as determined by an arbitrator selected by the DRO for this purpose.
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      4. Selection of an Arbitrator. The parties may select an arbitrator by agreement. In
         the event of agreement, the Company will notify the DRO of the name of the
         selected arbitrator and the DRO will appoint the arbitrator. However, if the parties
         cannot agree to the selection of an arbitrator before the submission of their joint
         request for arbitration, the DRO will provide an initial list of seven arbitrators. The
         parties may each strike up to three arbitrators and rank those remaining, from
         which the DRO will appoint an arbitrator. If acceptable arbitrators are unable to
         serve, of if for any other reason appointment cannot be made from the initial list,
         the DRO and parties will repeat the process until an arbitrator can be appointed.

         If requested by the employee, the Company will make a good faith effort to identify
         any arbitrators on the DRO’s arbitrator selection list(s) who have rendered an
         arbitration award in Solutions disputes between the Company and any of its
         employees within the last five years and, without divulging the identity of any
         employee involved or compromising the confidentiality of the proceeding, will
         inform the employee whether the decision was in favor of the Company or the
         employee in such arbitrations.

      5. Qualifications of a Neutral Arbitrator. In addition to not having any financial or
         personal interest in the result of the arbitration, arbitrators shall be (a) licensed
         attorneys with a minimum of either ten years’ experience in the practice of
         employment law and five years regularly acting as an arbitrator of employment law
         claims or fifteen years regularly acting as an arbitrator of employment claims, or (b)
         former judges with a minimum of ten years on the bench. For claims relating to
         intellectual property (for example, and without limitation, those relating to patents,
         trademarks, copyrights and trade secrets), arbitrators shall have a minimum of ten
         years’ experience as an attorney practicing in the relevant area of intellectual
         property law.

      6. Discovery. Discovery is the process by which parties to a pending Covered Claim
         obtain certain non-privileged information in the possession, custody or control of
         the other party, which is relevant to the proof or defense of the Covered Claim,
         including information concerning the existence, description, nature, custody, and
         location of any books, documents, or other tangible things and the identity and
         location of persons having knowledge of any such matter. Promptly after
         appointment, the arbitrator shall hold an initial conference with the parties to
         discuss matters pertinent to the proceedings including a plan for discovery. The
         arbitrator shall have the authority to order such discovery, by way of deposition,
         interrogatory, document production, requests for admission or otherwise, as the
         arbitrator considers necessary for a full and fair exploration of the issues in
         dispute, consistent with the expedited nature of arbitration. Discovery is subject
         to certain presumptive guidelines set forth below. The arbitrator may depart from
         these guidelines by increasing or decreasing the amount of discovery based on the
         facts of the particular claim.

         a. Initial Disclosures. Either party may request the arbitrator to order initial
            disclosures to be made within 30 calendar days following the initial scheduling
            conference with the arbitrator. If ordered, the initial disclosures will comply with Federal
            Rule of Civil Procedure §26(a)(1).

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         b. Protective Orders. The arbitrator may issue protective orders in response to a
             request by either party or by a third-party witness.

          c. Guidelines on Discovery. Either party may seek from the other party discovery of
             the types described below to the extent relevant to claims or defenses before the
             arbitrator. The arbitrator shall have the authority to modify the discovery
             guidelines set forth below in consideration of the interests of simplicity and
             expedition of arbitration balanced against value of the information in establishing a
             claim or defense.

             i.   Interrogatories. Interrogatories are written questions that must be answered
                  by the responding party under oath. Each party may submit up to 20
                  separately numbered interrogatories to the other party. Subparts to
                  interrogatories will count as separate interrogatories. Answers and objections
                  to interrogatories must be served on the inquiring party within 30 calendar
                  days of receipt.

             ii. Document Requests. Each party may serve up to 15 requests for documents
                 or things. Responsive documents or things, not including those that are
                 privileged, attorney work product or subject to a protective order, in the
                 responding party’s possession, custody or control and/or objections to the
                 requests must be served on the inquiring party within 30 calendar days of
                 receipt. The requesting party shall bear the reasonable cost of compliance
                 with the request, subject to paragraph 22 below.

             iii. Requests for Admission. Each party may serve up to 15 requests for
                  admission related to the pending Covered Claim(s). The requests shall seek
                  the responding party’s admission of the truth of any matter that is not
                  privileged and that is relevant to the Covered Claim(s) or defenses. Responses
                  and/or objections to the requests must be served on the inquiring party within
                  30 calendar days of receipt. The subject of the requests shall be deemed
                  conclusively admitted if the responding party fails to respond or object within
                  the 30 calendar days, unless the arbitrator permits withdrawal or amendment
                  of the admission.

             iv. Depositions. A deposition is an oral statement under oath that is given in
                 response to specific questions asked by one of the parties and that usually is
                 recorded or transcribed by a court reporter. Each party shall be entitled to
                 take the deposition of up to three individuals after having given the other party
                 reasonable notice of the identity of the individual to be deposed and the time
                 and place of the deposition. The party taking the deposition shall be
                 responsible for the costs of the court reporter and each party shall be
                 responsible for the cost of any transcript it may request.

             v. Duty to Supplement Disclosures and Discovery Responses. A party who has
                made an initial disclosure or who has responded to a request for discovery is
                under a continuing duty to timely supplement or correct the disclosure or
                response to include information learned or acquired after the initial disclosure
                or response was made.

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             vi. Time for Initiation and Completion of Discovery: In order to expedite the
                 arbitration, the parties may initiate discovery prior to the appointment of the
                 arbitrator. Unless the arbitrator determines that additional time is necessary,
                 the parties shall complete discovery no later than 45 days before the start of the
                 arbitration hearing. Neither party shall be required to provide information or
                 documents or otherwise respond to a discovery request received less than 30
                 calendar days before the date for completion of discovery.

               vii. Expert Witnesses: If scientific, technical or other specialized knowledge will
                    assist the arbitrator to understand the evidence or to determine a fact in issue,
                    a witness qualified as an expert by knowledge, skill, experience, training or
                    education may testify thereto. A party wishing to use expert testimony at the
                    arbitration hearing must disclose to the other party the identity of such expert.
                    The party also must provide an expert report containing a complete statement
                    of all opinions to be expressed, the reasons therefore, the data or other
                    information considered in forming the opinions, and exhibits to be used in
                    support of the opinions, the expert’s qualifications, the compensation to be paid
                    to the expert and a list of any other cases in which the expert has testified as
                    an expert in the prior four years.

                  When the mental or physical condition of a party is in controversy, the
                  arbitrator may order the party to submit to a physical or mental examination
                  by a licensed or certified examiner of the other party’s choosing. The
                  examiner will produce to both parties a report containing his or her findings.

                  Where a party decides to use an expert witness, the disclosures (described in
                  the first paragraph under vii.) must be made within 90 days of the appointment
                  of the arbitrator. The arbitrator may postpone the hearing date by 30 calendar
                  days or such time as is necessary to permit the parties to complete expert
                  discovery (including the taking of the initial expert’s deposition and receipt of
                  transcript, disclosure of any rebuttal expert and deposition of such rebuttal
                  expert and receipt of transcript) no less than 30 calendar days prior to the
                  hearing.

               viii. Discovery Disputes: The parties will make a good faith attempt to quickly
                     resolve any discovery disputes between themselves prior to seeking a decision
                     from the arbitrator. The arbitrator shall have the authority to resolve any
                     remaining disputes pursuant to the Rules of the DRO. The arbitrator will
                     resolve all discovery disputes in a time frame that permits discovery to be
                     concluded no less than 45 calendar days before the arbitration hearing.

       7. Subpoenas: A subpoena is a command to an individual or a company
          representative to appear at a certain place and time and give testimony and/or
          furnish documents. A party may ask the arbitrator to issue a subpoena and such
          subpoena must be served on the other party no less than 10 calendar days prior to
          the start of the hearing, deposition or time for production of documents
          contemplated by the subpoena. The arbitrator shall have the authority to
          enforce, limit, modify, and/or cancel such subpoenas once they are issued. The
          party asking the arbitrator to issue the subpoena shall be responsible for the fees
          and expenses associated with the issuance of and compliance with the subpoena.
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      8. Dispositive Motions: Dispositive motions (e.g., motions to dismiss, motions for
         summary judgment) may be filed at any time but in no event later than 30 days
         prior to the hearing. The arbitrator must provide a written decision deciding any
         dispositive motion and may set an appropriate briefing schedule for such motions.

      9. Pre-Hearing Disclosures and Motions: No less than 10 calendar days before the
         hearing, each party shall provide, in writing, the names of all witnesses (including
         any expert witness already disclosed in accordance with the discovery guidelines)
         that the party intends to call to testify at the hearing in support of its case in chief,
         copies of all exhibits it intends to introduce at the hearing, a brief summary of any
         preliminary issues the party intends to raise before the arbitrator, and any pre-
         hearing motions (e.g., motions in limine).

      10. Date and Time of Arbitration Hearing. The arbitrator, in consultation with the
          parties, shall set the time and date of the arbitration hearing to occur no later than
          180 calendar days after the appointment of the arbitrator. This date will be
          extended only by agreement of the parties or by the arbitrator in accordance with
          the principles in Section III.D.1.

      11. Length of Hearing. The arbitrator shall control the duration of the arbitration
          hearing and shall seek to limit the length of the arbitration hearing to two 8-hour
          days (16 hours total); provided, however, that the arbitrator shall provide each
          party an adequate opportunity to present its case, considering the nature and
          complexity of the Covered Claims at issue.

      12. Place of Hearing. Unless the parties agree otherwise, or the arbitrator directs
          otherwise, the parties shall use the DRO office nearest to the employee’s work
          location to arbitrate the Covered Claims. If the DRO’s office is unavailable, the
          DRO will arrange for the rental of an arbitration hearing room that is mutually
          convenient.

      13. Arbitration Hearing Attendees. The parties may be assisted or represented by an
          attorney at the arbitration hearing. The arbitration hearing shall be a private
          hearing. Without the written agreement of both parties, no one may attend the
          arbitration hearing except the arbitrator; an official recorder (if any); the employee,
          attorneys, experts, and witnesses; and the Company’s attorneys, representative(s),
          experts, and witnesses; provided, however, that the arbitrator shall have authority
          to sequester or separate the witnesses upon request of a party.

      14. Recording of the Arbitration Hearing. Either party may request a qualified court
          reporter to make a stenographic record and transcript of the arbitration hearing.
          If such a request is made, the Company will pay the cost of the court reporter and
          each party shall pay for its own transcript.

      15. Evidence. The parties may offer such evidence at the hearing as is relevant and
          material to the determination of the Covered Claim(s) at issue. The arbitrator shall
          determine the weight and relevance to be afforded the evidence offered by the
          parties. This Procedure does not require conformity to legal rules of evidence,
          except for the law applicable to attorney-client privilege, attorney work product
          and compromise and offers to compromise. However, the arbitrator shall not
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         receive or consider evidence by affidavit or evidence submitted to the arbitrator
         after the arbitration hearing has concluded.

       16. Witnesses. Subject to the arbitrator’s authority to increase the number in
           accordance with the principles in Section III.D.1. above, neither party may call
           more than 5 witnesses, including expert witnesses, during the presentation of its
           case-in-chief. Either party may present expert witness testimony to the arbitrator,
           provided the party has complied with subparagraph III.D.7.c.vii. above.

       17. Briefs and Arbitrator’s Opinion. Each party will have the opportunity, if desired, to
           submit a written brief to the arbitrator within 30 calendar days of the close of the
           arbitration hearing (or receipt of the transcript, if applicable). The parties waive
           their right to file a brief unless they notify the arbitrator by the close of the
           arbitration hearing of their intention to file a brief. The arbitrator shall be
           responsible for forwarding a copy of the opposing brief to the other party. The
           arbitrator will have the discretion to accept and consider responsive briefs.

          The arbitrator shall issue a written opinion to the parties not more than 30
          calendar days after the close of the arbitration hearing, or 30 calendar days after
          the arbitrator’s receipt of the parties’ briefs, whichever is later. The opinion shall
          be signed by the arbitrator and shall contain: (a) the names of the parties and
          their representatives; (b) the date(s) and place of the hearing; (c) a summary of the
          Covered Claims arbitrated and decided; (d) the factual and legal reasons for the
          opinion; and (e) the damages and/or other remedies/relief, if any.

       18. Authority of the Arbitrator. The arbitrator may, in connection with the Covered
           Claim of a specific employee, decide whether the Company has complied with its
           policies, procedures, rules or practices, and/or whether such policies, procedures,
           rules, and/or practices are in violation of applicable state or federal law, and where
           a violation is found, the arbitrator may, solely with respect to the claimant, order
           the Company to change the application of its policies, procedures, rules, or
           practices. The arbitrator shall not, however, change, require the Company to
           establish, nor diminish the Company’s authority to establish or revise its policies,
           procedures, rules and/or practices. The arbitrator shall decide all Covered Claims
           in accordance with the substantive law of the state or the federal circuit, or both, in
           which the claim arose, or the applicable law pursuant to any contractual
           agreement. The Arbitrator, and not any court or agency, shall have exclusive
           authority to resolve any dispute relating to the applicability, interpretation,
           formation or enforceability of this Agreement including, but not limited to, any
           claim that the entirety or any part of this Agreement is voidable or void, except as
           provided in Section II.K.

          Under no circumstances shall the arbitrator have the authority to consider any
          putative class, collective or representative action claims.

          The arbitrator also shall have the authority to determine issues of timeliness of the
          Covered Claim(s). The arbitrator further shall have the power to sanction a party
          for that party’s failure to comply with this Procedure, the DRO’s Rules, or the
          arbitrator’s rulings. These sanctions may include assessment of costs, adverse
          inferences, prohibitions of evidence or, if justified by a willful disregard of any of the
          above, an adverse ruling in the arbitration.
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      19. Scope of Award. The arbitrator shall interpret and apply the law of remedies of the
          state or the federal circuit, or both, in which the claim arose, or the applicable law
          pursuant to any contractual agreement. Except as provided by this Procedure
          above (Authority of the Arbitrator) and below (Front Pay Option), the arbitrator may
          grant any remedy or relief that would have been available had the claim been
          asserted in court.

      20. Front Pay Option Instead of Reinstatement. If the arbitrator orders the
          reinstatement of an employee whose employment has been involuntarily
          terminated, there may be situations where either the employee does not want to
          return to work or the Company does not wish to reinstate the employee. In such
          situations, the arbitrator, at the request of either party, shall accept additional
          evidence or argument on that issue and shall issue a supplementary award. Such
          an award will grant the employee reasonable front pay instead of reinstatement in
          accordance with applicable state or federal law.

      21. Effect of Arbitrator’s Decision. An arbitrator’s award rendered under Solutions
          shall be a final, binding, and exclusive determination of Covered Claims.

         The arbitrator’s award will not be subject to review or appeal, except as provided
         by the Federal Arbitration Act, 9 U.S.C. Sections 1-14, or by the applicable state
         arbitration statute.

         Neither party shall publish or disseminate the arbitrator’s award or arrange for
         publication or dissemination of the award, except as may be required by law. The
         award shall have no legal effect on the claims of employees who are not party to
         the arbitration. Neither party may cite the arbitrator’s decision as precedent in
         any other arbitration, or in any administrative or court proceeding. However,
         either party may cite the decision to appeal or enforce the arbitrator’s award
         and/or to seek dismissal of claims in litigation or an administrative hearing arising
         from substantially the same set of facts and circumstances.

      22. Costs and Fees. The Company will pay: (1) the DRO filing and other
          administrative fees; (2) the arbitrator’s fee and his/her reasonable travel and living
          expenses; and (3) the cost of renting an arbitration hearing room. The Company
          also will pay for necessary time spent at the arbitration by a Claimant or witness
          currently employed by the Company as follows: 1) non-exempt employees will be
          paid at their regular base rate for time in the arbitration hearing that occurs during
          their regularly scheduled hours; and 2) exempt employees will continue to receive
          their regular salary for such time.

         The Company shall pay the fees and expenses of the arbitrator by making such
         payments directly to the DRO, which shall then pay the arbitrator without
         disclosing the source of such payments. To avoid disclosing to the arbitrator the
         source of the payment of his/her fees and expenses or other costs of arbitration,
         all references to the “costs and fees” of the Solutions Procedure shall be redacted
         from copies of this Procedure which are provided to the arbitrator.

         Each party shall pay its experts’ and/or attorneys’ fees, unless the arbitrator
         awards reasonable experts’ and/or attorneys’ fees to a “prevailing party” under
                                                                                                   22
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         applicable law.

      23. Settlement Prior to Award. If the parties reach an agreement to resolve the
          Covered Claims prior to the issuance of the arbitrator’s decision, the arbitrator will
          retain jurisdiction of the matter until the parties have executed a written
          settlement agreement and release of claims and such agreement has become
          effective.




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                                   APPENDIX A


   Professional Band and above employees of the Company who are either working in the United
   States or who are U.S. citizens working outside the United States are covered by this Solutions
   Procedure.

   In addition to the above: all Company employees, regardless of Career Band or level, are
   covered by this Procedure if they were notified of their participation in Solutions at any time
   on or after July 1, 2008.


   Note: Per the terms of Executive Order (EO) 13673, GE deleted the paragraph permitting
   modification that has been a part of the Solutions Procedure. If this Executive Order is
   amended or invalidated with respect to the right to modify, the prior provision permitting
   modification will be reinstated. It will read as follows: The Senior Vice President of Human
   Resources for the General Electric Company (or his or her designee) may modify or discontinue
   the Solutions Procedure in the future so long as the Company gives affected employees sixty
   (60) calendar days advance notice. Any such change shall be prospective, and shall not affect
   previously filed claims.

   Exceptions/Additional Notes:

   GE Oil & Gas

   All non-union represented employees of GE Oil & Gas who are either working in the United
   States or who are U.S. citizens working outside the United States are covered by this Solutions
   Procedure.
   GE Consumer & Industrial (GECI) or any predecessor or successor GECI business entity or
   affiliate

   The following employees continue to be covered by either Solutions (effective July 1, 2009) or
   the Alternative Dispute Resolution Program (ADRP) applicable to their employment effective at
   the time of the employee’s employment: all exempt, non-exempt, and hourly non-represented
   employees (meaning an hourly employee not represented by a labor union or who may be
   classified as an Other Salaried employee) who worked or is working for GECI or a predecessor
   or successor GECI business entity or affiliate, including such employees working either in the
   United States or who are U.S. citizens working outside the United States, with the exception of
   the following employees who will continue to be covered by the GECI ADR Program applicable
   to their employment: Employees in the Senior Professional Band or below positions employed
   by GECI or a predecessor GE or GECI business entity prior to December 1, 2008, and who (a)
   were notified in writing, by the Company, that the employee can opt out of Solutions between
   April 29, 2009 and June 30, 2009 and; (b) who opted out of Solutions pursuant to the
   Company’s procedures between April 29, 2009 and June 30, 2009.


   GE Aviation and Its Applicable Affiliates

   Executive Band and above employees in Aviation and its affiliates, who are either working in
   the United States or who are U.S. citizens working outside the United States are covered by
   this Solutions Procedure.
                                                                                               24
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   Exempt employees below Executive Band in Aviation and its affiliates, who are either working
   in the United States or who are U.S. citizens working outside the United States are covered by
   this Solutions Procedure, except those who opt out of this Solutions Procedure, with or without
   consequences, in response to written notice from the company that they may opt out of this
   Solutions Procedure. Employees that do opt out of this Solutions Procedure and are covered
   by the company’s Dispute Resolution Program (DRP) remain covered by DRP.

   In addition, all employees, regardless of band in Aviation and its affiliates, who (a) are not
   already covered by the preceding paragraphs, and (b) are provided and asked to acknowledge
   the Solutions Procedure at any time after July 1, 2008, are covered by the Solutions Procedure,
   except those who opt out of this Solutions Procedure, with or without consequences, in
   response to written notice from the company that they may opt out of this Solutions
   Procedure. Employees that do opt out of this Solutions Procedure and are covered by the
   company’s Dispute Resolution Program (DRP) remain covered by DRP.

   As it applies to employees of GE Aviation and it applicable affiliates only, the Senior HRM for
   GE Aviation (or his or her designee) may modify or discontinue the Solutions Procedure in the
   future so long as GE Aviation gives affected employees sixty (60) calendar days advance
   notice. Any such change shall be prospective, and shall not affect previously filed claims.

   Note: the above business names are accurate as of September 1, 2015 and future changes
   to business names will be recognized.




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                                      APPENDIX B

                                            SOLUTIONS
                                   Issue Resolution Procedure
                                    Level I –Submission Form

Employee Name:                   Employee SSO:                    Preferred Contact (Number / e-Mail):




1)   Date your concern(s)/claim(s) first arose: ______________________________________________________


2) Have you discussed your concerns with your manager?         ☐ Yes             ☐ No


3) Please explain your concern(s)/claim(s) including individuals involved, and what you believe is necessary to
   resolve the concern(s). (You may attach additional pages if needed.)




4. I request to skip Level I and submit concern(s)/claim(s) at Level II
   (must still enter description above and indicate reasons for request to skip Level I): YES           NO   

5. At the request of the employee or the manager, an HR representative may participate in the Level I meeting.
   Do you request the attendance of an HR representative/manager at the Level 1 Meeting? YES  NO 



Employee Signature:                                                                   Date:

      Please forward this form to the GE [business name] ADR Coordinator via e-mail at [email address]


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                                                 SOLUTIONS
                                        Issue Resolution Procedure
                                         Level II –Submission Form

Employee Name:                       Employee SSO:                        Preferred Contact (Number / e-Mail):




Must submit concern(s)/claim(s) at Level II within 30 calendar days of the date of the Manager’s written response
at Level I. Provide any additional information regarding your concern(s)/claim(s) including information that conflicts with
the Manager’s stated reason for not resolving your concern(s)/claim(s) at Level I. (You may attach additional pages if
needed.)




Employee Signature:                                                                           Date:

      Please forward this form to the GE [Business Name] ADR Coordinator via e-mail at [email address]

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                                                     SOLUTIONS
                                             Issue Resolution Procedure
                                      Level III – Submission to Mediation Form
The named Parties hereby submit the dispute below to mediation under the GE [Business Name] Solutions Procedure:

                                EMPLOYEE                                                                         COMPANY
              (This section to be completed by the employee)                                  (This section to be completed by the Company)

Name of Party:                                                                  Name of Party:

Address:                                                                        Address:

City/State/Zip:                                                                 City/State/Zip:

Phone Number:                                                                   Phone Number:

Name of Attorney:                                                               Name of Attorney:

Firm:                                                                           Firm:

Address:                                                                        Address:

City/State:                                                                     City/State:

Phone Number:                                                                   Phone Number:

Fax Number:                                                                     Fax Number:

E-Mail Address:                                                                 E-Mail Address:

Employee Signature:                                                             Company Representative Signature:

Please Print Name:                                                              Please Print Name:

Must submit covered claim(s) at Level III within 30 calendar days of the date of the written response at Level II.
Include all legal claim(s) that arise out of the same facts and include all facts that support your legal claim(s), including facts which conflict with the
Level II Response. Include the dates of each alleged legal violation, names of individual(s) who have knowledge about each alleged legal violation and
the nature of their involvement, and any documents or other evidence which support your claim(s).

(Please note: This description should be a brief, but complete, description of the nature of the legal claim(s) to be mediated. This includes, but is not
limited to, monetary amounts requested, requests for specific performance, etc. (Attach additional pages if necessary.)


Description of legal claim(s):




              Please forward this form to the GE [Business Name] ADR Coordinator via e-mail at [email address]

                                                                                                                                                  28
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                                                   SOLUTIONS
                                            Issue Resolution Procedure
                                     Level IV – Submission to Arbitration Form
   The named Parties hereby submit the dispute below to arbitration under the GE [Business Name] Solutions Procedure:

                                EMPLOYEE                                                                          COMPANY
              (This section to be completed by the employee)                                   (This section to be completed by the Company)

Name of Party:                                                                   Name of Party:

Address:                                                                         Address:

City/State/Zip:                                                                  City/State/Zip:

Phone Number:                                                                    Phone Number:

Name of Attorney:                                                                Name of Attorney:

Firm:                                                                            Firm:

Address:                                                                         Address:

City/State:                                                                      City/State:

Phone Number:                                                                    Phone Number:

Fax Number:                                                                      Fax Number:

E-Mail Address:                                                                  E-Mail Address:

Employee Signature:                                                              Company Representative Signature:

Please Print Name:                                                               Please Print Name:

Must submit covered claim(s) at Level IV within 30 calendar days of the date the parties and/or mediator determines that the mediation at
Level III has not been successful.

(Please note: This description should be a brief, but complete, description of the nature of the legal claim(s) to be arbitrated. This includes, but is not
limited to, monetary amounts requested, requests for specific performance, etc. Attach additional pages if necessary.)



Description of legal claim(s):




              Please forward this form to the GE [Business Name] ADR Coordinator via e-mail at [email address]

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